  Case 5:10-cr-00014-DCB-FKB        Document 116      Filed 04/27/11    Page 1 of 11



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION

UNITED STATES OF AMERICA

VERSUS                                         CRIMINAL NO. 5:10-cr-14-DCB-FKB

ELVIS D. PRATER and
DEWAYNE D. JOHNSON                                                        DEFENDANTS

                                       ORDER

      This cause comes before the Court on Defendant Dewayne E.

Johnson’s Motion for New Trial [docket entry no. 114].                         Having

carefully considered said Motion, Response thereto, applicable

statutory and case law, and being otherwise fully advised in the

premises, the Court finds and orders as follows:

               I.     Relevant Facts and Procedural History

      Defendant Johnson, a Natchez Police Officer, was indicted for

one   counts    of   deprivation     of   rights      under   color     of   law,      in

violation of 18 U.S.C. § 242, and for one count of making false

statements in violation of 18 U.S.C. § 1001, arising out of the

alleged beatings of two arrestees by co-Defendant Elvis Prater,

also a Natchez Police Officer.            Johnson was also alleged to have

stolen   credit      cards   from   one   of    the    arrestees       resulting       in

indictments for an additional count each of false statements and

deprivation of rights under color of law, as well as for conspiracy

to commit identity theft, credit card fraud, and bank fraud, in

violation of 18 U.S.C. § 371.          Trial on these charges commenced on

February 22, 2011 and the jury returned a verdict on March 2, 2011
  Case 5:10-cr-00014-DCB-FKB     Document 116     Filed 04/27/11   Page 2 of 11



as to only two of the eight counts charged in the indictment: that

Defendant Johnson was guilty as to deprivation of rights under

color of law arising out of the theft of the arrestee’s credit

cards; and that Defendant Prater was not guilty regarding the

alleged deprivation of rights under color of law arising out of the

beating of one of the arrestees.          The jury did not reach a verdict

as to six of the eight counts of the indictment and re-trial is

currently set for June 20, 2011.

     Johnson now moves for a new trial arguing that (1) the

Government   improperly        commented     on    his    exercise      of    the

Constitutional right not to testify; (2) the Court erred in giving

an Allen charge to the jury; (3) the Court erred in raising a sua

sponte Batson challenge during jury selection;(4) the Court erred

in refusing to strike potential jurors who had seen or read

information about the case before trial; (5) the Court erred in

suggesting that it may call a district-wide jury for the retrial;

(6) the Court erred in striking members of the jury pool who knew

Defendant Johnson’s counsel; (7) the Court erred in permitting a

juror to remain on the panel who is related to a local attorney

with opinions on the case; and (8) the Court erred in responding to

a written question from the jury.

               II.   Standard on Motion for New Trial

     Though Johnson does not cite a specific rule in support of his

Motion, he apparently requests a new trial under Federal Rule of


                                      2
  Case 5:10-cr-00014-DCB-FKB    Document 116       Filed 04/27/11    Page 3 of 11



Criminal Procedure 33, which permits a court to vacate judgment and

grant a new trial “if the interest of justice so requires.” Fed. R.

Crim. P. 33.     Rule 33 divides motions for new trial based on the

interest of justice into two different subcategories: (1) motions

based on newly discovered evidence; and (2) motions based on “other

grounds.”      United States v. Wall, 389 F.3d 457, 466 (5th Cir.

2004).    Johnson does not cite newly discovered evidence and thus

his Motion is based on “other grounds.” Generally, “the trial court

should not grant a motion for new trial [on “other grounds”] unless

there would be a miscarriage of justice or the weight of evidence

preponderates against the verdict.”           Id. (citing United States v.

O'Keefe, 128 F.3d 885, 898 (5th Cir. 1997)).                   A new trial is

granted only upon demonstration of adverse effects on substantial

rights of the defendant.       Id.    (citing United States v. Rasco, 123

F.3d 222, 228 (5th Cir. 1997)).         The decision to grant a new trial

“should   be   exercised   infrequently       by   district     courts,     unless

warranted   by   ‘exceptional’       circumstances.”        United       States     v.

Tarango, 396 F.3d 666, 672 (5th Cir. 2005). The Court will examine

each of the argued bases for a new trial in turn.

                               III. Analysis

     A.     Government Comment on Invocation of Fifth Amendment

     Johnson’s    first    argument     for   a    new   trial      is   that     the

Government improperly commented on his decision not to testify at

trial which is protected by the Fifth Amendment.              Johnson does not


                                       3
  Case 5:10-cr-00014-DCB-FKB     Document 116    Filed 04/27/11    Page 4 of 11



refer    specifically   to   any   time   at    which   attorneys      for    the

Government allegedly made such comments and the Court did not

observe any during trial.       Accordingly, the Court finds that there

was no miscarriage of justice and the Motion on this ground is

denied.

     B.     Allen Charge

     Johnson next argues that he is entitled to a new trial because

the Court erred in giving the jury an Allen charge1 which informed

them that they could render a partial verdict.                    Johnson also

suggests that the jury was somehow coerced to reaching a verdict

because on the day that the Court gave the Allen charge, the jury

had been deliberating for eight hours without a lunch break.                 That

is not the case — the jury ate lunch in the deliberation room that

day and was permitted to leave the jury room for breaks to walk

around and/or to smoke.         Regarding the Allen charge, Johnson’s

objection is that the Court instructed the jury that it could

render a partial verdict.        First, partial verdicts are expressly

provided for in the Rules: “If the jury cannot agree on all counts

as to any defendant, the jury may return a verdict on those counts

on which it has agreed.”       Fed. R. Crim. P. 31(b)(2).         Moreover, the

Fifth Circuit has expressly approved an Allen charge that includes



     1
       “‘Allen’ refers to Allen v. United States, 164 U.S. 492
(1896). The term describes supplemental instructions to jurors to
forego their differences and reach a unanimous verdict.” United
States v. Heath, 970 F.2d 1397,1406 n.2 (5th Cir. 1992).

                                      4
  Case 5:10-cr-00014-DCB-FKB    Document 116    Filed 04/27/11     Page 5 of 11



an instruction to the jury that it may return a partial verdict.

United States v. Scruggs, 583 F.2d 238, 239 n.3 (5th Cir. 1978).

There was no miscarriage of justice and the Court denies Johnson’s

motion for new trial based on the Allen charge.

      C.   Batson Challenges

      Johnson next argues that the Court erred in raising a sua

sponte Batson challenge to the defense counsel’s exercise of

strikes during jury selection.            The Government argues that the

Court did not raise its own Batson challenge but instead ruled on

the parties’ cross-Batson challenges.            A review of the record

confirms   that   the   Court   did   not    raise   a   sua     sponte   Batson

challenge; rather, the Court informed counsel: “Let me say, as I do

in every case, if there are any Batson issues, let me know about

it.   Sometimes, I’ll have to bring them up myself.”                  The Court

later informed counsel for the defense that “you’re running close

on Batson, in my opinion.”      The Court waited to address any Batson

issues, however, until the Government lodged a formal objection to

the defense’s use of strikes.

      In any event, the Court here did not find that either side had

violated Batson in its use of peremptory strikes after requiring

each side to give race-neutral reasons for its strikes. Thus, even

if there is arguably some error in a Court’s raising the issue sua

sponte (which, again, it did not do here), the error did not harm

Johnson.   Moreover, the Court disagrees that it may not raise a


                                      5
     Case 5:10-cr-00014-DCB-FKB      Document 116   Filed 04/27/11   Page 6 of 11



Batson concern on its own.             Johnson cites only one case for the

proposition that a Court may not raise a Batson challenge sua

sponte, Rivera v. Illinois, 129 S.Ct. 1446, 1451 (2009).                            In

Rivera, the Supreme Court addressed “whether the erroneous denial

of    a    peremptory     challenge    requires     automatic    reversal      of   a

defendant’s conviction as a matter of federal law.”                  Id. at 1452.

In so doing, the Court recounted the case’s procedural history and

noted that the Illinois Supreme Court had held that a trial judge

may raise a Batson issue sua sponte only when there is a prima

facie case of discrimination.                 Id. at 1451 (citing Rivera v.

Illinois, 852 N.E.2d 771 (2006)).             That Illinois state law holding

obviously has no application here and this Court has not found any

Fifth Circuit or other relevant federal precedent suggesting that

it is improper for a trial judge to raise a Batson issue sua

sponte.          Regardless, in this instance, it is the Government that

first raised a Batson objection to the defense’s use of peremptory

strikes and thus the Court finds that there was no miscarriage of

justice and the Motion is denied on this ground.

          D.     Court’s Refusal to Strike Potential Jurors Who Had Been
                 Exposed to Pretrial Publicity

          Johnson next argues that the Court erred in refusing to strike

potential jurors who had been exposed to media coverage of the

facts       at    issue   in   the   trial.      Johnson   contends     that    his

constitutional rights to a fair trial were violated by allowing

venire members who had been exposed to media coverage to remain in

                                          6
  Case 5:10-cr-00014-DCB-FKB   Document 116   Filed 04/27/11    Page 7 of 11



the jury pool. Nevertheless, the Fifth Circuit has made clear that

“[e]xposure to pretrial publicity does not render a venireman unfit

to serve as a juror per se.”       United States v. Chagra, 669 F.2d

241, 249 (5th Cir. 1982)(citations omitted).           Instead, “[i]t is

sufficient if the juror can lay aside his impression or opinion and

render a verdict based upon the evidence presented in court.”              Id.

(quoting Irvin v. Dowd, 366 U.S. 717, 723 (1961)).             Thus, Johnson

is incorrect that the presence of jurors who were exposed to

pretrial publicity renders his trial necessarily unfair.              Indeed,

the Court here asked each venire member about his or her exposure

to pretrial publicity and whether that exposure would affect the

juror’s ability to render an impartial verdict.                None of them

indicated that media accounts of the case had influenced them or

would render them incapable of being impartial. Accordingly, there

was no miscarriage of justice and Johnson’s motion for a new trial

on this ground is denied.

     E.     Intent to Utilize District-Wide Jury Selection

     Johnson next argues that the Court erred in commenting that it

would utilize district-wide jury selection in the retrial of this

case.     Johnson argues that the purpose of this comment was to

dilute the potential jury pool in order to render a different

result.    Johnson’s argument apparently relates to the composition

of the jury on the retrial of this matter and not to the trial that

has already occurred. Any objection to the composition of the jury


                                    7
  Case 5:10-cr-00014-DCB-FKB   Document 116   Filed 04/27/11   Page 8 of 11



in the retrial is not grounds for a new trial and thus the Motion

is denied as to this issue.

     F.   Potential Jurors Struck for Relationship with Counsel for
          Johnson

     Johnson next argues that the Court improperly struck for cause

two potential jurors who had a relationship with counsel for

Defendant Johnson, Dennis Sweet.         Johnson argues that a mere

relationship between a member of the venire with the court,

witness, or a lawyer alone is not sufficient to strike a member of

the venire.    In this instance, however, one venire member was

struck because she informed the Court that she could not be

impartial because she had a prior relationship with Mr. Sweet.

This Court has discretion to excuse a juror for cause when it “‘is

left with the definite impression that a prospective juror would be

unable to faithfully and impartially apply the law.’”                 United

States v. Flores, 63 F.3d 1342, 1355 (5th Cir. 1995)(quoting

Wainwright v. Witt, 469 U.S. 412, (1985)).        Another venire member

was struck because Mr. Sweet informed the Court that he formerly

had been an employee of Mr. Sweet and the business relationship had

ended badly.    The Fifth Circuit has upheld a district court’s

decision to excuse jurors who had prior business dealings with

defense counsel.    United States v. Harper, 505 F.2d 924, 926 (5th

Cir. 1974). There was no miscarriage of justice and the Motion for

new trial on this ground is denied.

     G.   Alleged Error in Selecting Particular Juror

                                    8
  Case 5:10-cr-00014-DCB-FKB     Document 116   Filed 04/27/11   Page 9 of 11



     Johnson next argues that he did not receive a fair trial

because a woman remained on the jury whose uncle is a local

attorney familiar with the case.           The secretary of that same

attorney was excused from the jury pool for cause after informing

the Court that she had knowledge of the case from hearing her

employer discuss it at his office and that she could not be

impartial. Again, the Court has the discretion to excuse any juror

who leaves the Court with the impression that he or she cannot be

impartial.    Flores, 63 F.3d at 1355. Johnson has now obtained

information that the attorney’s niece (who served on the jury) also

works for her uncle at his law office and thus would have been

exposed to the same discussion of the case.            He therefore argues

that she should have been excluded from the jury pool for cause.

     First, there is nothing on the record to indicate that the

juror about whom Johnson complains works for her uncle, the

attorney, or that she had heard his opinions about this case.

Second, the niece-juror was asked by the Court, as was every member

of the venire, whether she had formed any pretrial opinions about

the case that would impair her ability to be impartial and the

juror did not indicate any.        The juror never expressed any doubt

about her ability to be impartial during the trial despite the

Court’s direct inquiry.        Jurors are presumed to answer truthfully

the questions of voire dire. United States v. Rowe, 106 F.3d 1226,

1229 (5th Cir. 1997).    Defendant Johnson’s argument suggests that


                                      9
 Case 5:10-cr-00014-DCB-FKB   Document 116    Filed 04/27/11   Page 10 of 11



this juror did not answer truthfully and thus the Court does not

find Johnson’s argument to be well-taken. There was no miscarriage

of justice and thus the Motion for new trial on this issue is

denied.

     H.   Error In Jury Instruction Regarding Unlawful Seizure

     Johnson next argues that the Court erred in redirecting the

jury to its written instructions after the jury submitted a

question to the Court regarding the difference between an unlawful

seizure and stealing.     In the context of this argument, Johnson

again objects to the Court’s Allen charge to the jury reminding

them of their ability to render a partial verdict because one of

the two counts on which the jury rendered a verdict was the count

about which they submitted this question.            To the extent that

Johnson is again raising his argument regarding the Allen charge,

the Court has already rejected it.           To the extent that Johnson

argues that the Court’s response to the jury was error, this Court

disagrees because the Fifth Circuit has held that redirecting the

jury to the original charge, where it is an accurate statement of

the law, is proper.     United States v. Wilcox, 631 F.3d 740, 753

(5th Cir. 2011)(citing United States v. Arnold, 416 F.3d 349, 359

n.13 (5th Cir. 2005)). In either case, there was no miscarriage of

justice and the Motion for new trial on this ground is denied.

     IT IS HEREBY ORDERED that Defendant Johnson’s Motion for New

Trial [docket entry no. 114] is DENIED.


                                   10
Case 5:10-cr-00014-DCB-FKB   Document 116    Filed 04/27/11   Page 11 of 11



   SO ORDERED AND ADJUDGED this the 26th day of April, 2011.



                                            s/ David Bramlette

                                       UNITED STATES DISTRICT JUDGE




                                  11
